Case 2:05-mc-OOOZO-BBD-dkv Document 6 Filed 08/01/05 Page 1 of 2 Page|D §
DC.

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IN THE UNITED sTATEs DISTRICT coURT . 32
FOR THE wEsTERN DISTRICT oF TENNESSEE 05 AUG -l AH|D-
wEsTERN DIVISION

 

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{;L§M, u,;_, _; m 1R"Cl CQUT
EQUAL EMPLOYMENT oPPoRTUNITY Col\/MISSION, Vs;"€) C .-'JWFHIS
Plaintiff,
VS. NO. 2:05mCOOUZO-Mav

EAST BROOKS BOOKS, INC.,

Defendant.

 

ORDER OF DISMISSAL

 

Before the Court is plaintiff's July 28, 2005, Motion to
Dismiss the above-styled action filed March 25, 2005, seeking
subpoena enforcement action. Respondent has substantially
complied with the administrative subpoena and has produced
documents to plaintiff. The court therefore finds good cause to
grant plaintiff's motion and this matter is hereby DISMISSED.

lt is 30 oRDERED this °'q ¢Bay of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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with Rule 58 and/or 79 (a) FRCP on “

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-MC-00020 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

